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 1
                             UNITED STATES DISTRICT COURT
 2
                           SOUTHERN DISTRICT OF CALIFORNIA
 3
 4    UNITED STATES OF AMERICA,                     Case No.: '22 MJ04618
 5                               Plaintiff,
                                                    COMPLAINT FOR VIOLATION OF
 6
            V.
 7                                                  Title 21 U.S.C. §§ 952 and 960
                                                    Importation of a Controlled Substance
 8    N oraceli ZAZUETA,                            (Felony)
 9                              Defendants.
10
           The undersigned complainant being duly sworn states:
11
12               On or about December 19, 2022, within the Southern District of California,
13
     Noraceli ZAZUETA did knowingly and intentionally import a mixture and substance
14
     containing a detectable amount of methamphetamine, a Schedule II Controlled Substance,
15
16 into the United States from a place outside thereof, in violation of Title 21, United States
17
     Code, Sections 952 and 960.
18
19
20         The complainant states that this complaint is based on the attached Statement of Facts
21
     incorporated herein by reference.
22
23
                                                  Special Agent Robin Tannehill
24                                                Homeland Security Investigations
25 Sworn and attested to under oath by telephone, in accordance with Federal Rule of Criminal
26 Procedure 4.1, this 20th day of December 2022
27
28                                                  0
                                                        ·ted States Magistrate Judge
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                                  STATEMENT OF FACTS

 2
           On December 19, 2022, at approximately 11:45 AM, Noraceli ZAZUETA,
 3

 4   ("ZAZUETA"), a United States citizen, applied for entry into the United States from
 5
     Mexico through the San Ysidro POE in vehicle lane #21. ZAZUETA was the driver,
 6

 7   sole occupant, and registered owner of a 2017 Nissan Rogue ("the vehicle") bearing
 8
     California license plates.
 9

10         A Canine Enforcement Team was conducting pre-primary operations when
II
     the Human and Narcotic Detection Dog alerted to the vehicle's floor.
12

13         A Customs and Border Protection Officer received two negative Customs
14
     declarations from ZAZUETA. ZAZUETA stated she was crossing the border to go
15

16   to San Francisco, California. Officers referred the vehicle was escorted to secondary
17
     inspection. A CBP Officer observed a non-factory steel plate on the driver's side
18
     floor. A CBP Officer conducted a visual inspection under the seat and observed hole
19

20   in which a package wrapped in cellophane was observed.
21

22
           Further inspection of the vehicle resulted in the discovery of 90 packages

23   concealed in the floor of the vehicle, with a total approximate weight of 44.46 kgs
24
     (98.02 lbs). A sample of the substance contained within the packages field tested
25

26   positive for the characteristics of methamphetamine.
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                                               1
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           ZAZUETA was placed under arrest at approximately 2:05 pm.

 2
           During a post-Miranda interview, ZAZUETA denied knowledge of the
 3

 4   narcotics were in the vehicle. ZAZUETA stated that she was going home to Oakland,
 5
     CA after spending the weekend with her father and brother in Tijuana, MX.
 6

 7         ZAZUETA was arrested and charged with a violation of Title 21, United
 8
     States Code, 952 and 960, impmtation of a controlled substance.
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